                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TENNESSEE
                                WINCHESTER DIVISION


 UNITED STATES OF AMERICA,              )
                                        )                   Case No. 4:21-cv-00051
          Plaintiff,                    )
                                        )
          v.                            )
                                        )
 LAFEVRE CONSTRUCTION, LLC, and         )
 JAMES E. LAFEVRE, AS EXECUTOR OF       )
 THE ESTATE OF JAMES H. LAFEVRE,        )
                                        )
           Defendants.                  )
 _______________________________________)

                  COMPLAINT TO FORECLOSE ON REAL PROPERTY

       This civil action is commenced at the request and with the authorization of the Chief

Counsel of the Internal Revenue Service (a delegate of the Secretary of the Treasury) and at the

direction of the Attorney General of the United States pursuant to 26 U.S.C. §§ 7401 and 7403.

The United States files this complaint to foreclose federal tax liens that attach to LaFevre

Construction, LLC’s real property. The tax liens arose from federal tax assessments against James

H. LaFevre dated as early as 2000. In 2003, James H. LaFevre transferred the Real Property to

LaFevre Construction, LLC through a quitclaim deed in exchange for ten dollars. The federal tax

liens conveyed with such transfer and continue to attach.

       In the alternative, the United States asserts that LaFevre Construction, LLC is the nominee

of James H. LaFevre and/or that he fraudulently transferred the property to LaFevre Construction,

LLC and requests that the Court foreclose on the federal tax liens and judgment lien and use the

proceeds to satisfy his outstanding tax debts that have now been reduced to a judgment entered by

the U.S. District Court for the Northern District of Indiana.




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                                  JURISDICTION AND VENUE

       1.      Jurisdiction is conferred upon this Court pursuant to 26 U.S.C. §§ 7402 and 7403,

and 28 U.S.C. §§ 1331, 1340, and 1345.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the

Defendant LaFevre Construction, LLC has its principal place of business in this district and

because the real property subject to foreclosure is located within this district in Coffee County,

Tennessee.

                                              PARTIES

       3.      The Plaintiff is the United States of America.

       4.      Defendant LaFevre Construction, LLC is the nominee of James H. LaFevre. It has

a principal office located at 187 Jeremy LaFevre Lane, Manchester, Tennessee 37355. LaFevre

Construction, LLC is included in this suit pursuant to 26 U.S.C. § 7403(b) because it is the record

title holder of the real property subject to foreclosure.

       5.      Defendant James E. LaFevre, as executor of the Estate of James H. LaFevre, is

included in this suit pursuant to 26 U.S.C. § 7403(b) because the Estate may claim an interest in

the real property subject to foreclosure.

                                        REAL PROPERTY

       6.      The real property (the “Real Property”) subject to the requested foreclosure is a

parcel of nearly 100 acres in Coffee County, Tennessee and is more particularly described in the

description on the next page:



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                         RELEVANT FACTUAL BACKGROUND

       7.     A delegate of the Secretary of the Treasury made assessments against James H.

 LaFevre, d/b/a Applied Computer Techniques, for tax liabilities associated with withheld income

 and Federal Insurance Contributions Act (“FICA”) taxes, as well as the employer’s portion of the

 FICA, reportable on Internal Revenue Service Form 941, and unemployment taxes reportable on


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 Internal Revenue Service Form 940, on the dates, for the tax period and tax type, and in the

 amounts set forth in the table below:

                  Tax Period        Type of Tax    Date of       Amount of
                                                  Assessment     Assessment
                  06/30/1994         WT – FICA    07/24/2000      $6,348.87
                                     (Form 941)
                  09/30/1994         WT – FICA    07/24/2000      $13,787.14
                                     (Form 941)
                  12/31/1994         WT – FICA    07/24/2000      $14,727.07
                                     (Form 941)
                  03/31/1995         WT – FICA    07/24/2000      $13,009.74
                                     (Form 941)
                  06/30/1995         WT – FICA    07/24/2000      $16,267.35
                                     (Form 941)
                  09/30/1995         WT – FICA    07/24/2000      $29,254.67
                                     (Form 941)
                  12/31/1995         WT – FICA    07/24/2000      $20,247.55
                                     (Form 941)
                  03/31/1996         WT – FICA    07/10/2000      $31,365.43
                                     (Form 941)
                  06/30/1996         WT – FICA    07/10/2000      $31,278.53
                                     (Form 941)
                  09/30/1996         WT – FICA    04/30/2007      $48,992.39
                                     (Form 941)
                  12/31/1996         WT – FICA    07/10/2000      $55,479.89
                                     (Form 941)
                  03/31/1997         WT – FICA    07/03/2000      $49,604.63
                                     (Form 941)
                  06/30/1997         WT – FICA    07/03/2000      $52,135.81
                                     (Form 941)
                  09/30/1997         WT – FICA    07/03/2000      $63,121.95
                                     (Form 941)
                  12/31/1997         WT – FICA    07/03/2000      $73,152.76
                                     (Form 941)
                  03/31/1998         WT – FICA    07/03/2000      $63,484.55
                                     (Form 941)
                  06/30/1998         WT – FICA    07/03/2000      $63,595.95
                                     (Form 941)
                  09/30/1998         WT – FICA    07/03/2000      $81,137.28
                                     (Form 941)
                  12/31/1998         WT – FICA    07/03/2000      $75,432.57
                                     (Form 941)
                  12/31/1994           FUTA       07/03/2000      $2,170.00
                                     (Form 940)

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                   12/31/1995           FUTA           07/03/2000        $3,472.15
                                      (Form 940)
                   12/31/1996           FUTA           07/03/2000        $9,609.30
                                      (Form 940)
                   12/31/1997           FUTA           07/03/2000       $10,713.18
                                      (Form 940)        4/29/2002        $2,199.77

                   12/31/1998           FUTA           07/03/2000        $2,015.71
                                      (Form 940)       04/29/2002       $13,606.01


       8.      Federal tax liens attached to all property interests of James H. LaFevre on the date

of the tax assessments identified in paragraph 7 above pursuant to 26 U.S.C. § 6322.

       9.      A Delegate of the Secretary of the Treasury issued notice of these assessments and

demanded payment from James H. LaFevre.

       10.     James H. LaFevre died testate on January 11, 2013. A probate estate has opened in

the Porter County Probate Court in Indiana (Cause No. 64D02-1302-ES-1254). However, the Real

Property subject to foreclosure in the instant action is not included in the decedent’s Estate because

a nominee (LaFevre Construction, LLC) holds title to the Real Property.

       11.     The Executor of the Estate of James H. LaFevre objected to the United States’ proof

of claim in the probate case, which resulted in litigation in the United States District Court for the

Northern District of Indiana, Case No. 2:14-CV-285-TLS.

       12.     On October 24, 2019, the United States District Court for the Northern District of

Indiana entered judgment against the Estate of James H. LaFevre for the decedent’s federal tax

assessments described in paragraph 7 above plus interest and penalties, and in favor of the United

States in the amount of $3,423,621.48 as of September 30, 2017, plus statutory additions and

interest until satisfied (the “Tax Judgment”). See United States v. Estate of LaFevre, 2019 U.S.

Dist. LEXIS 183779, Case No. 2:14-CV-285-TLS (N.D. Ind. Oct. 24, 2019). A copy of the Tax




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Judgment is attached hereto as Exhibit A. A judgment lien was subsequently filed in Coffee

County, Tennessee and recorded on December 23, 2019.

       13.     As of September 15, 2020, the balance of the Tax Judgment is $3,942,837.00, and

interest and statutory additions continue to accrue on that amount.

       14.     The Estate of James H. LaFevre has failed, neglected, or refused to fully pay the

full amount of the Tax Judgment.

                  COUNT I: FORECLOSURE OF FEDERAL TAX LIENS

       15.     The allegations set forth in paragraphs 1 through 14 are re-alleged and re-

incorporated by reference as though fully set forth herein.

       16.     On May 24, 2002, James H. LaFevre obtained title to the Real Property from Larry

and Sue Banks through a warranty deed. Once James H. LaFevre obtained title to the Real

Property, federal tax liens that rose upon assessment on the dates identified above in paragraph 7

attached to the Real Property pursuant to 26 U.S.C. § 6322. A copy of the warranty deed is attached

hereto as Exhibit B.

       17.     On November 7, 2003, James H. LaFevre transferred the Real Property to LaFevre

Construction, LLC through a quitclaim deed in exchange for ten dollars. The federal tax liens

conveyed with such transfer and continue to attach pursuant to 26 U.S.C. § 6322. A copy of the

quitclaim deed is attached hereto as Exhibit C.

       18.     Under 26 U.S.C. §§ 6321 and 6322, and 26 U.S.C. §§ 7402 and 7403, the United

States is entitled to foreclose its federal tax liens encumbering LaFevre Construction, LLC’s

interest in the Real Property and to have the proceeds distributed, after payment of the costs of sale

and any senior liens, to the United States and applied against the tax liabilities and/or the Tax

Judgment.



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   COUNT II: IN THE ALTERNATIVE, TO ENFORCE FEDERAL TAX LIENS AND
             JUDGMENT LIEN AGAINST THE PROPERTY HELD BY
                      JAMES H. LAFEVRE’S NOMINEE

       19.     The allegations set forth in paragraphs 1 through 18 are re-alleged and re-

incorporated by reference as though fully set forth herein.

       20.     James H. LaFevre owned the Real Property and continued to be the beneficial

owner after he transferred the Real Property to LaFevre Construction, LLC since he retained a

membership interest in LaFevre Construction, LLC.

       21.     According to Tennessee business records, James H. LaFevre created LaFevre

Construction, LLC on the same day that the transfer of Real Property was made via quitclaim deed,

November 7, 2003.

       22.     James H. LaFevre and his son James E. LaFevre were the only members and

organizers of LaFevre Construction, LLC.

       23.     James H. LaFevre transferred the Real Property to LaFevre Construction, LLC for

ten dollars, which was less than its reasonably equivalent value and was very little consideration

given the size of the nearly 100-acre Real Property. Upon current information and belief, the fair

market value of the Real Property is between $500,000 and $1 million.

       24.     James H. LaFevre transferred the Real Property to LaFevre Construction, LLC after

he was assessed with tax liabilities by the Internal Revenue Service.

       25.     Due to the Internal Revenue Service’s assessments against James H. LaFevre,

James H. LaFevre believed or reasonably should have believed that he would incur debts beyond

his ability to pay as they became due.

       26.     LaFevre Construction, LLC was created by James H. LaFevre to shield the Real

Property from his personal creditors, including the United States.

       27.     Upon information and belief, the conveyance was made for tax avoidance purposes.
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       28.     LaFevre Construction, LLC was the nominee of James H. LaFevre.

       29.     The Internal Revenue Service recorded a nominee lien against LaFevre

Construction, LLC by filing a nominee lien in the Register of Deeds for Coffee County, Tennessee

in Manchester, Tennessee, on January 22, 2020. A copy of the nominee lien is attached hereto as

Exhibit D.

       30.     Under 26 U.S.C. §§ 6321 and 6322, and 26 U.S.C. §§ 7402 and 7403, the United

States is entitled to foreclose its federal tax liens and judgment lien encumbering LaFevre

Construction, LLC’s interest in the Real Property since it is holding title to the land as the nominee

of James H. LaFevre, and to sell the Real Property free and clear of all rights, titles, claims, liens,

and interests of the parties, and to have the proceeds distributed, after payment of the costs of sale

and any senior liens, to the United States and applied against the tax liabilities and/or Tax

Judgment.

       COUNT III: IN THE ALTERNATIVE, TO SET ASIDE THE FRAUDULENT
          CONVEYANCE OF REAL PROPERTY AND TO ENFORCE THE
                   FEDERAL TAX LIENS AND JUDGMENT LIEN

       31.     The allegations set forth in paragraphs 1 through 30 are re-alleged and re-

incorporated by reference as though fully set forth herein.

       32.     James H. LaFevre transferred the Real Property to LaFevre Construction, LLC to

hinder, delay, or defraud his creditors, including the United States, on behalf of its agency the

Internal Revenue Service, for the reasons set forth above and below.

       33.     James H. LaFevre transferred the Real Property to LaFevre Construction, LLC,

which is considered an insider.

       34.     James H. LaFevre retained control of the Real Property after he transferred the Real

Property to LaFevre Construction, LLC.



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       35.     James H. LaFevre did not receive reasonably equivalent value in exchange for the

transfer of the Real Property to LaFevre Construction, LLC. Upon current information and belief,

the fair market value of the Real Property is between $500,000 and $1 million and the property

was transferred for ten dollars.

       36.     James H. LaFevre was insolvent when he made the transfer because he was

generally not paying his tax debts to the Internal Revenue Service as they became due.

       37.     The transfer of the Real Property to LaFevre Construction, LLC is fraudulent as to

the United States and should be set aside.

       38.     Under 26 U.S.C. §§ 6321 and 6322, and 26 U.S.C. §§ 7402 and 7403, the United

States is entitled set aside the transfer of the Real Property and foreclose its federal tax liens and

judgment lien by selling the Real Property free and clear of all rights, titles, claims, liens, and

interests of the parties, and to have the proceeds distributed, after payment of the costs of sale and

any senior liens, to the United States and applied against the tax liabilities and/or Tax Judgment.

                                     RELIEF REQUESTED

       WHEREFORE, the United States of America respectfully prays:

       A.      That the Court order, adjudge, and decree that the United States of America holds

valid and subsisting federal tax liens on the Real Property;

       B.      If necessary, that the Court order, adjudge, and decree that LaFevre Construction,

LLC holds title to the Real Property as nominee of James H. LaFevre and that the federal tax liens

and judgment lien still attach;

       C.      If necessary, that the Court order, adjudge, and decree that James H. LaFevre’s

transfer of his interest in the Real Property constituted a fraudulent conveyance, is therefore

voided, and that the federal tax liens and judgment lien still attach;



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        D.        That the Court order, adjudge, and decree that the federal tax liens or judgment lien

 be foreclosed;

        E.        That the Court order, adjudge, and decree the distribution of the proceeds of such

 sale according to priority of liens and interests; and

        F.        That the Court award the United States of America such further relief, including

 the costs of this action, which the Court finds to be just and proper.



 DATED: December 27, 2021                                 DAVID A. HUBBERT
                                                          Deputy Assistant Attorney General

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